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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


PARKERVISION, INC.

                             Plaintiff,
                                                      C.A. No. 6:20-cv-00108-ADA
       vs.
                                                         JURY TRIAL DEMANDED
INTEL CORPORATION

                             Defendant.

                                           ORDER

       After considering ParkerVision’s motion for leave to amend (ECF No. 133), the parties’

respective position statements submitted to the Court by email on May 10, 2022, and oral

arguments during a hearing held on June 21, 2022, the Court orders the following:

       IT IS ORDERED THAT Intel’s motion to strike ParkerVision’s Final Infringement

Contentions is DENIED. Intel shall be permitted two additional hours of deposition testimony

with Mr. David Sorrells and two additional hours of deposition testimony with one other

inventor of the patents-in-suit. ParkerVision shall use reasonable efforts to have third-party

Mr. Robert Cook testify as the second inventor deponent. The subject matter of the depositions

shall be limited to topics related to ParkerVision’s infringement contentions.

       IT IS FURTHER ORDERED THAT ParkerVision’s motion for leave to amend (ECF

No. 133) is GRANTED. Exhibit A to ParkerVision’s motion for leave to amend shall be the

operative Complaint, but shall remain under seal. ParkerVision is ordered to file a redacted

version of its Third Amended Complaint once the dispute regarding the appropriate scope of

redactions is resolved. With regard to ParkerVision's willful infringement allegations in the
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Third Amended Complaint, Intel shall be permitted to take the deposition of two 30(b)(1)

witnesses (up to ten hours total), 2 additional interrogatories, and up to 10 additional RFAs.

ParkerVision shall use reasonable efforts to have third-parties Mr. John Stuckey and Mr. Jeff

Leach testify. The subject matter of the depositions, interrogatory and RFAs shall be limited

to ParkerVision's willfulness allegations.



       IT IS SO ORDERED this 29th day of June, 2022.



                                             HON. ALAN D ALBRIGHT
                                             UNITED STATES DISTRICT COURT JUDGE
